IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION

CRIMINAL. NO,_22.. D3 - VE /
18 US.C. §2
18 U.S.C. § 1503
18 U.S.C. § 151206)

UNITED STATES OF AMERICA )
)
) 18 U.S.C. § 1512(c)
)
)
)
)

VS.
18 U.S.C, § 1519
CAMERON BANKS,

a/k/a “Reggie Staggers,”

a/k/a “Roy Hamilton” INDICTMENT

Count 1
(Obstruction of Justice)

THE GRAND JURY CHARGES THAT:

Beginning on or about July 2018 and continuing until at least August 2019, in the District
of South Carolina, the Defendant, CAMERON BANKS, a/k/a “Reggie Staggers,” a/k/a “Roy
Hamilton,” did corruptly influence, obstruct and impede and endeavor to influence, obstruct and
impede the due administration of justice in United States v. Banks, 2:17-699, and United States v.
Banks, 2:19-544, in the U.S, District Court for the District of South Carolina, by instructing
A.R.A., a person known to the grand jury, to draft fake letters and journal entries and record fake
phone calis, and submit the fake documents and recordings to his attorneys to file as exhibits to
court documents;

In violation of Title 18, United States Code, Sections 1503 and 2.
Count 2
(Obstruction of Justice)

THE GRAND JURY FURTHER CHARGES THAT:

Beginning on or about November 2018 and continuing until at least August 2019, in the
District of South Carolina, the Defendant, CAMERON BANKS, a/k/a “Reggie Staggers,” a/k/a
“Roy Hamilton,” did corruptly influence, obstruct and impede and endeavor to influence, obstruct
and impede the due administration of justice in United States v. Banks, 2:17-699, and United States
y, Banks, 2:19-544, in the U.S. District Court for the District of South Carolina, by instructing S.P.,
a person known to the grand jury, to record fake phone calls and submit the fake recordings and
items to his attorneys to file as exhibits to court documents;

In violation of Title 18, United States Code, Sections 1503 and 2.

Count 3
(Witness Tampering)
THE GRAND JURY FURTHER CHARGES THAT:

Beginning on or about July 2018 and continuing until August 2019, in the District of South
Carolina, the Defendant, CAMERON BANKS, a/k/a “Reggie Staggers,” a/k/a “Roy Hamilton,
did knowingly corruptly persuade and engage in misleading conduct toward A.R.A,, a person
known to the grand jury, by paying A..R.A, using their romantic relationship to his benefit, and
convincing her to create fictitious recordings and documents with the intent to influence A.R.A.’s
testimony in an official proceeding, in United States v. Banks, 2:17-699, and United States v.
Banks, 2:19-544, in the U.S. District Court for the District of South Carolina;

In violation of Title 18, United States Code, Sections 1512(b)(1) and 2.

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Count 4
(Witness Tampering)

THE GRAND JURY FURTHER CHARGES THAT:

Beginning on or about November 2018 and continuing until August 2019, in the District
of South Carolina, the Defendant, CAMERON BANKS, a/k/a “Reggie Staggers.” a/k/a “Roy
Hamilton,” did knowingly corruptly persuade and engage in misleading conduct toward S.P., a
person known to the grand jury, by paying S.P., using their romantic relationship to his benefit,
and convincing her to create fictitious recordings and documents with the intent to influence S.P.’s
testimony in an official proceeding, in United States v. Banks, 2:17-699, and United States vy.
Banks, 2:19-544, in the U.S. District Court for the District of South Carolina;

In violation of Title 18, United States Code, Sections 1512(b)(1) and 2.

Count 5
(Witness Tampering)
THE GRAND JURY FURTHER CHARGES THAT:

Beginning on or about July 2018 and continuing until August 2019, in the District of South
Carolina, the Defendant, CAMERON BANKS, a/k/a “Reggie Staggers,” a/k/a “Roy Hamilton,”
did corruptly obstruct, influence and impede, and attempt to obstruct influence and impede, official
proceedings in United States v. Banks, 2:17-699, and United States v. Banks, 2:19-544, in the U.S.
District Court for the District of South Carolina, by directing and assisting A.R.A, a person known
to the grand jury, to create fictitious recordings and false documents;

In violation of Title 18, United States Code, Sections 1512(c) and 2.

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Count 6
(Witness Tampering)

THE GRAND JORY FURTHER CHARGES THAT:

Beginning on or about November 2018 and continuing until August 2019, in the District
of South Carolina, the Defendant, CAMERON BANKS, a/k/a “Reggie Staggers,” a/k/a “Roy
Hamilton,” did corruptly obstruct, influence and impede, and attempt to obstruct influence and
impede, official proceedings in United States v. Banks, 2:17-699, and United States v. Banks, 2:19-
544, in the U.S. District Court for the District of South Carolina, by directing and assisting S.P., a
person known to the grand jury, to create fictitious recordings and false documents;

In violation of Title 18, United States Code, Sections 1512(c) and 2.

Count 7
(Falsification of Records in Federal Investigation)
THE GRAND JURY FURTHER CHARGES:

Beginning at a time unknown to the grand jury but at least July 2018 and continuing until
on or about the January 4, 2019, in the District of South Carolina, the Defendant, CAMERON
BANKS, a/k/a “Reggie Staggers,” a/k/a “Roy Hamilton,, did knowingly alter, destroy, mutilate,
conceal, coverup, falsify, and make a false entry in, a record, document, and tangible object, and
did aid and abet the same, with the intent to impede, obstruct, and influence the investigation and
proper administration of United States v. Banks, 2:17-699, and United States v. Banks, 2:19-544,
matters that the defendant knew and contemplated were within the jurisdiction of the Federal
Bureau of Investigation, a department and agency of the United States, and in relation to and
contemplation of the matters;

In violation of Title 18, United States Code, Sections 1519 and 2.

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Count 8
(Falsification of Records in Federal Investigation)

THE GRAND JURY FURTHER CHARGES:

Beginning at a time unknown to the grand jury but at least early 2019 and continuing to on
or about the July 8, 2019, in the District of South Carolina, the Defendant, CAMERON BANKS,
a/k/a “Reggie Staggers,” a/k/a “Roy Hamilton,” did knowingly alter, destroy, mutilate, conceal,
coverup, falsify, and make a false entry in, a record, document, and tangible object, and did aid
and abet the same, with the intent to impede, obstruct, and influence the investigation and proper
administration of United States v. Banks, 2:17-699, and United States y. Banks, 2:19-544, matters
that the defendant knew and contemplated were within the jurisdiction of the Federal Bureau of
Investigation, a department and agency of the United States, and in relation to and contemplation
of the matters:

In violation of Title 18, United States Code, Sections 1519 and 2.

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FOREPSRSON ~>-—~

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